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                           IN THE UNITED STATES BANKRUPTCY
                          COURT FOR THE NORTHERN DISTRICT OF
                                TEXAS AMARILLO DIVISION



    INRE:

    McCLAIN FEED YARD, INC.,                                        CASE NO. 23-20084-7-rlj

             Debtor.                                                         Chapter 7


    INRE:

    McCLAIN FARMS, INC.,                                            CASE NO. 23-20085-7-rlj

             Debtor.                                                         Chapter 7


    INRE:

    7M CATTLE FEEDERS, INC.,                                        CASE NO. 23-20086-7-rlj

             Debtor.                                                         Chapter7




                        ACCEPTANCE OF SERVICE OF RULE 2004 SUBPOENA
                                       (Glenn Karlberg)

          The undersigned, Glenn Karlberg, Chief Restructuring Officer for each of the above-named

  Debtors (i) affirms that he has received a copy of the Subpoena for Rule 2004 Production of Documents,

  dated June 20, 2023, issued in the above-entitled cases by David LeBas, counsel for AgTexas Fa1m Credit

  Services; AgTexas, PCA; and Thorlakson Diamond T. Feeders, LP, (the "Subpoena"); (ii) accepts service

  of the Subpoena on behalf of himself without the requirement of formal service; and (iii) waives any right

  that he, LLC might have to service of the Subpoena by any other means.

          Glenn Karlberg reserves all other rights and defenses with respect to the Subpoena other than

  defenses, if any, based upon improper or ineffective service.



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           Dated this    2'J;~day ofJune, 2023 .




                                       CERTIFICATE OF SERVICE

          The undersigned certifies that on this th~        ay of June, 2023, the foregoing ACCEPTANCE
  OF SERVICE OF SUBPOENA and RULE 2004 SUBPOENA was electronically filed and served via the
  Court's ECF System on all electronic filing users in this case.


                                                                 J)~A'~~
                                                                Isl David L. LeBas
                                                                David L. LeBas




  4891-9483-1723, v. 1
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132540 (Form 2540- Subpoena for Ruic 2004 Examination) (Page 2)




                                   UNITED STATES BANKRUPTCY COURT
                                   NORTHERN DISTRICT OF TEXAS, AMARILLO DIVISON

                In re:    McClain Feed Yard, Inc.                                         Case No. 23-20084-7-rlj
                          McClain Farms, Inc.                                             Case No. 23-20085-7-rlj
                          7M Cattle Feeders, Inc.                                         Case No. 23-20086-7-rlj

                                                                                          Chapter -~7__


                              SUBPOENA FOR RULE 2004 PRODUCTION OF DOCUMENTS

                TO: Glenn Karlbcrg
                Debtors' ChiefRestrncturing Officer
                15029 N. Thompson Peak
                #Bll 1-643
                Scottsdale, AZ 85268


                                                       (Name ofperson to whom the subpoena is directed)


 D  Testimony: YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at an examination
 under Rule 2004, Federal Rules of Bankruptcy Procedure. A copy of the court order authorizing the examination is attached.
I PLACE                                                                                      I DATEANDTIME

    ~ Production: You, must produce by 5:00 p.m. on or before July 5, 2023, or at a mutually agreed time, at the
 office of Naman Howell Smith & Lee, 8310 N. Capital of Texas Highway, Ste 490, Austin, Texas 78731, the following
 documents, electronically stored information or objects, and must permit inspection, copying, testing, or sampling of
 the material:
                                         SEE EXHIBITS "A" and "B" ATTACHED HERETO



         The following provisions of Fed. R. Civ. P. 45, made applicable in bankruptcy cases by Fed. R. Bankr. P. 9016, are
 attached - Rule 45( c), relating to the place of compliance; Rule 45( d), relating to your protection as a person subject to a
 subpoena; and Rule 45(e) and 45(g), relating to your duty to respond to this subpoena and the potential consequences of not
 doing so.


               ISSUING OFFICER SIGNATURE AND TITLE                           DATE




               David L. LeBas
               Naman Howell Smith & Lee
               8310 N. Capital of Texas Highway, Ste 490
               Austin, Texas 7873 1
               Ph. 512-4 79-03 00
               Attomey for AgTexas Farm Credit Services
               Ag Texas PCA and
               Thor/akson Diamond T. Feeders, LP
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                                 Notice to the person who issues or requests this subpoena
              If this subpoena commands the production of documents, electronically stored information, or tangible things,
     or the inspection of premises before trial, a notice and a copy of this subpoena must be served on each party before it
     is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).

                                                             PROOF OF SERVICE
                      (This section should not be filed with the eourt unless required by Fed. R. Civ. P. 45.)



I received this subpoena for (name of individual and title, if any): _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
on (date} _ _ _ __


DI served the subpoena by delivering a copy to the named person as follows: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ on (date) _ _ _ _ _ _ _ _ _ ; or


D I returned the subpoena unexecuted because:                _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __



Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also tendered to the
witness the fees for one day's attendance, and the mileage allowed by law, in the amount of $_ _ _ _ _ _ _ _ _ __

 My fees are $_____ for travel and $_____for services, for a total of$_____ ,


           I declare under penalty of pe1jury that this information is true and correct.

 Date:

                                                                                            Server's signature


                                                                                           Printed name and title




                                                                                             Server's address




  Additional information concerning attempted service, etc.:
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                            Federal Rule of Civil Procedure 45(c), (cl), (e), and (g) (Effective 12/1/13)
                        (made applical>lc in bankruptcy cases l>y Ruic 9016, Fcdc1·al Rules of B1111knq1tcy Pl'Occdurc)

(c) Pince of complinncc.                                                                     (ii) disclosing 1111 unretained expert's opinion or information that docs
                                                                                       not describe specific occurrences ind ispute and results from the expert's
   (I) For a Trial, Hearing, or Deposilion A subpoena mny command a                    study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                          (C) Specijjoing Conditions as cm A ltemative. In the circumstances
     (A) within 100 miles of where the person resides, is employed, or                 described in Rule 45(d)(3 )(B), the court may, instead of quashing or
regularly transacts business in person; or                                             modifying a subpoena, order appeanmce or production under specified
     (B) within the stnte where the person resides, is employed, or regularly          conditions if the serving party:
tran sacts business in person, if the person                                                  (i) shows a substantial need for the testimony or material that cannot
       (i) is a party or a party's officer; or                                         be otherwise met without undue hardship; and
       (ii) is commanded to attend a trial und would not incur substantial                    (ii) ensures that the subpoenaed person will be reasonably
expense.                                                                               com pen sated.

  (2) For OJher Discove1y. A subpoena muy command:                                      (e) Duties iu Responding lo    II   Subpoena.
    (A) production of document s, or electronically stored information, or
things al a place within 100 miles of where the person resides, is employed,               (I) Prod11ci11g Documents or E/ectro11ica//y Stored /11Jormatio11 , These
or regularly lrnnsacts business in person; and                                          procedures apply to producing documents or electronically stored
    (B) inspection of premises, at the premises to be inspected.                        information:
                                                                                             (A)Documents. A person responding to a subpoena lo produce
(d) Protecting n Person Subject ton Subpoenn; Enforcement.
                                                                                        documents must produce them as they are kept in the ordinary course of
                                                                                        business or must organize and label them to correspond to the categories in
      (I) A1•oidi11g Undue Burden or fape11se; Sa11ct/011s. A party or
                                                                                        the demand.
attorney responsible for issuing and serving a subpoena must take
                                                                                             (B) Form for Prod11ci11g Electro11ica/ly Stored Information Not
reasonable steps to avoid imposing undue burden or expense on a person
                                                                                        Specified. If a subpoena does not specify a form for producing
subject to the subpoena. The court for the district where compliance is
                                                                                        electronically stored information, the person responding must produce it in
required must enforce this duty and impose an appropriate sanction -
                                                                                        a form or forms in which it is ordinarily maintained or in a reasonably
which may include lost earnings and rensonnble attorney's fees -on a
                                                                                        usable form or forms.
party or attorney who fails to comply.
                                                                                              (C) Electro11ica/ly Stored lnfor111ation Pmd11ced i11 Only One Form. The
                                                                                        person responding need not produce the same eleetronicnlly stored
  (2) Command to Produce Materials or Permit Inspection.
                                                                                        information in more than one form .
    (A)Appeamnce Not Required. A person commanded to produce
                                                                                              (D) l11accessible Electronically Stored /11Jormatio11, The person
documents, electronically stored information, or tangible things, or to
                                                                                        responding need not provide discovery of electronically stored information
permit the inspection of premises, need not appear in person at the place of
                                                                                         from sources that the person identifies as not reasonably accessible because
production or inspection unless also commanded to appear for a deposition,
                                                                                        of undue burden or cost. On motion to compel discovery or for a protective
hearing, or trial.                                                                      order, the person responding must show that the information is not
    (B) Objections. A person commanded lo produce documents or tangible
                                                                                         reasonably accessible because of undue burden or cost. If that showing is
things or to permit inspection may serve on the party or attorney designated
                                                                                         made, the court may nonetheless order discovery from such sources if the
in the subpoena a written objection to inspecting, copying, testing or
                                                                                         requesting party shows good cause, considering the limitations of Rule
sampling any or all of the materials or to inspecting the premises - or to
                                                                                         26(b)(2)(C). The court may specify conditions for the discovery.
producing electronically stored information in the form or forms requested.
The objection must be served before the earlier of the time specified for
                                                                                           (2) Claiming PrM/ege 01· Protection.
compliance or 14 days after the subpoena is served. Ifan objection is made,
                                                                                             (A)Jnformalion Withheld. A person withholding subpoenaed
the following rules apply:
                                                                                        information under a claim that it is privileged or subject lo protection as
      (i) Al any time, on notice to the commanded person, the serving party
                                                                                        trial-preparation material must:
may move the court for the district where compliance is required for an                        (i) ex11ressly make the claim; nnd
order compelling production or inspection.
                                                                                               (ii) describe the nature of the withheld documents, communications,
       (ii) These acts may be required only as directed in the order, and the
                                                                                        or tangible things in a manner that, without revealing information itself
order must protect a person who is neither a party nor a party's officer from
                                                                                        privileged or protected, will enable the parties to assess the claim.
significant expense resulting from compliance.
                                                                                             (B) /11/ormalion Produced. If information produced in response to a
                                                                                        subpoena is subject to a claim of privilege or of protection as trial -
   (3) Quashing or Modijj•ing a Subpoena.
                                                                                        preparation material, the person making the claim may notify any party that
     (A) When Required. On timely motion, the court for the district where
                                                                                        received the information of the claim and the basis for it. After being
 compliance is required must quash or modify a subpoena that:                           notified, a party must promptly return, sequester, or destroy the specified
       (i) fails to allow a reasonable time to comply;
                                                                                         information and any copies it has; must not use or disclose the information
       (ii) requires a person to comply beyond the geographical limits
                                                                                         until the claim is resolved; must take reasonable steps to retrieve the
 specified in Rule 45(c);
                                                                                         information if the party disclosed it before being notified; and may
       (iii) requires disclosure of privileged or other protected matter, if no
                                                                                         promptly present the information under seal to the court for the district
 exception or waiver applies; or                                                         where compliance is required for a determination of the claim. The person
       (iv) subjects a person to undue burden.
                                                                                         who produced the information must preserve the information until the claim
     (B) When Permitted. To protect a person subject to or affected by a
                                                                                         is resolved.
 subpoena, the court for the d istricl where compliance is required may, on
 motion, quash or modify the subpoena if it requires:
                                                                                         (g) Contcm11t. The court for the district where compliance is required - nnd
       (i) disclosing a trade secret or other confidential research,                     also, aficr n motion is transferred, the issuing court - may hold in contempt
 development, or commercial information; or
                                                                                         a person who, having been served, foils without adequate excuse to obey
                                                                                         the subpoena or an order related to it.


                                            For access lo subpoena materinls, see Fed. R. Civ.   r. 45(n) Committee Note (2013)
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                                              EXHIBIT A
                                            DEFINITIONS
                                           <Glenn KarJhere)

       I.      AgTexas.      The term "AgTexas" shall mean AgTexas Farm Credit Services, a

federally chartered agricultural credit association formed under the Farm Credit Act of 1933, and

AgTexas PCA, a federally chartered production credit association formed under the Farm Credit Act

of 1933.

       2.      Thorlakson.     The term "Thorlakson" shall mean Thorlakson Diamond T Feeders,

LP, a limited partnership organized under the laws of, and doing business in, the State of Texas.

       3.      Rabo. The term "Rabo" shall mean Rabo AgriFinance, LLC, a Delaware limited

liability company, and all officers, directors, members, employees, attorneys, agents, and

representatives of the foregoing.

       4.      Debtors. The term "Debtors" shall mean McClain Feed Yard, Inc., McClain Farms,

Inc., and 7M Cattle Feeders, Inc., as named and described in Cause No. 's 23-20084, 23-20085, and

23-20086 filed in this Court.       This term also includes any of the Debtors' agents, employees,

directors, members, officers, or representatives .

       5.      CRO. The term "CRO" shall mean Chief Restructuring Officer.

       6.      CRO Time Period. The term "CRO Time Period" means any time period(s) while

You (Glenn Karlberg) have been, or were serving, as Chief Restructuring Officer, including from the

date You were appointed to the present. If You (Glenn Karlberg) have stopped serving as CRO, then

the Time Period shall include up to the date You stopped serving as CRO.

       7.      McClain. The term "McClain" shall mean Brian Keith McClain, aka Brian K.

McClain, and also includes his agents, heirs, and representatives, including but not limited to his
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estate, his widow Chelsea McClain, his former spouse Crystal McClain, his daughter Meagan B.

Goad, f/k/a Meagan B. Powell, and his daughter Kinsey Moreland.

       8.         Relevant Documents Time Period. The term "Relevant Documents Time Period"

shall mean the period from January 1, 2018, through the present.

       9.      Relevant Communications Time Period. The term "Relevant Communications Time

Period" shall mean the period from January 1, 2021, through the present.

        10.    Documents or Electronically         Stored Information. The term "documents             or

electronically stored information" shall be synonymous in meaning and equal in scope to the usage

of those terms in Rule 34 of the Federal Rules of Civil Procedure , and shall include, without limitation,

any written, printed, electronic, typed , recorded, filmed, punched, transcribed, taped, or other graphic

matter of any kind or nature however stored, produced, or reproduced, whether sent or received or

neither, including the original, drafts, copies, and non-identical copies bearing notations or marks not

found on the original, and includes, but is not limited to, all records, memoranda, reports, financial

statements, handwritten and other notes, transcripts, paper, indices, electronic mail messages,

electronic text messages, voicemail, word processing documents, spreadsheets, databases, calendars,

telephone logs, contact manager information, internet usage files (including activity logs, records of

internet and web browser generated files, history files, caches, and cookies), network access

information, biogs, tweets, instant messages, letters, envelopes, telegrams, cables, telex messages,

telephone messages, summaries or records of telephone conversations, summaries or records of

personal conversations or interviews, summaries or records of meetings or conferences, minutes or

transcripts or notations of meetings or telephone conversations or other communications of any type,

tabulations, studies, analyses, evaluations, projections, work papers, statements, summaries,

opinions, journals, desk calendars, appointment books, diaries, billing records, invoices, or

photographs, or other data compilations in any medium from which information can be obtained,




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including, but not limited to microfilms, magnetic tapes, electronic storage, computers , laptops, hard

drives, thumb drives, personal digital assistants, smart phones, and archives, and includes any other

documents discoverable under Federal Rule of Civil Procedure 26, which are in your custody ,

possession , and/or control or to which you otherwise have access. The term "document" also includes

file and folder tabs associated with each of the aforementioned originals, copies, drafts, or versions.

The term "document" also includes "communication" as defined herein .

         11.   Communications. The term "communications" shall be construed as broadly as

possible, and shall include, but not be limited, to all e-mails, text messages, correspondence,

memoranda, or other written documentation in any form.

         12.   Concerning. The term "concerning" means referring to, referencing, reflecting, m

connection with, describing, evidencing, indicating, supporting or constituting, digesting,

embodying, establishing, tending to establish, tending not to establish, comprising, commenting on,

responding to, disagreeing with, showing, describing, analyzing, representing, constituting or

including, in whole or in part.

         13.   All/Each. The terms "all" and "each" shall be construed as all and each .

         14.   And/Or. The connectives "and" and "or" shall be construed either disjunctively or

conjunctively as necessary to bring within the scope of the discovery request all responses that might

otherwise be construed to be outside of its scope .

         15.   Number. The use of the singular form of any word includes the plural and vice

versa.

         16.   Tense . The use of the present tense includes the present and past tense, and the use

of the past tense includes the past and present tense.

         17.   You/Your. The terms "You" and/or " Your" means to person or entity to whom this

subpoena is directed, and its agents or employees thereof with knowledge of the matters contained




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in the documents requested herein . This also includes any agent or employees with knowledge of

the matters contained in the documents requested herein of Ampleo.


                                          TNSIBJJCI1QNS

       A.      To the extent any Document Request in this subpoena seeks documents also covered

by any other Document Request(s) to You, it is for purposes of completeness only, and should in

no way be construed as limiting or otherwise narrowing any of the other Requests herein.

       B.      These Requests shall extend to all documents in the possession, custody, and/or

control of You, as well as all documents in the possession, custody, or control of persons or entities

under Your control or which You could reasonably gain access.

       C.      In the event that more than one copy of a documents exists, You should produce the

original and each non-identical copy of each document or other tangible thing requested herein

that is in Your possession, custody or control, or the control of Your agents, attorneys, accountants,

or employees, or to which You could reasonably gain access.

       D.      You should comply with the requirements of the Federal Rules of Civil Procedure

regarding claims of privilege or protection of trial preparation materials.

       E.      These Requests shall be deemed continuing in nature to the fullest extent permitted by

law. If further responsive information comes into the possession or attention of You or Your

attorneys at any time during the course of this proceeding, such information must be provided as

required by the Federal Rules of Civil Procedure.




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                                           EXHIBIT B

                                   BEQJJESIEP PQCJJMENTS

           l.   All communications between You with the Debtors for the Relevant Correspondence

Time Period, or, from whenever the Debtors first contacted You, whichever is earlier.

           2.   All corporate resolutions executed by the Debtors' various corporate entities

appointing You Chief Restructuring Officer for the Debtors.

           3.   All corporate resolutions executed by the Debtors' various corporate entities during

the CRO Time Period. This includes whether or not You voted on the resolutions.

           4.   All board meeting minutes for any meetings held during the CRO Time Period.

           5.   All accountings related the Debtors' operations made by You or any of your

representatives, or at your request or direction, during the CRO Time Period.

           6.   All accountings made by the Debtors, or their employees or agents, during the

Relevant Document Time Period in Your possession.

           7.   All communications You had with Rabo, including any of their agents or employees,

during the Relevant Communications Time Period, or during the CRO Time Period, whichever is

earlier.

           8.   All communications between You and the following individuals during the Relevant

Communications Time Period, or during the CRO Timer Period, whichever is earlier:

                  •    Brian McClain;

                  •    Crystal McClain;

                  •    Chelsea McClain;

                  •    Meagan B. Goad, aka Megan B. Powell;

                  •    Jed Goad;

                  •    Kinsey Moreland;


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                   •     Angela Powell;

                   •     Michelle Stockett


       9.         All documents exchanged between You and Focus Management during the Relevant

Documents Time Period .

       10.        All communications exchanged between You and Focus Management during the

Relevant Communications Time Period.

       11.        All auction and/ or other sales receipts from any cattle so Id by the Debtors in Your

Possession from the Relevant Documents Time Period.

           12.    All communications You had with any auction service during the CRO Time Period .

           13 .   All letters, notices, memoranda, or other written documents from any auction service

related to holding of proceeds from any cattle sold by the During the CRO Time Period through the

present.

           14.    All records and documents evidencing lines of credit, and the amounts extended to

Debtors by Rabo during the Relevant Documents Time Period in Your Possession.

           15.    All evidence of payments made by the Debtors on any lines of credit extended by

Rabo during the Relevant Documents Time Period in Your Possession.

           16.    All records of assets maintained by the Debtors as of March 1, 2023, through the

present.

           17.    All records and documents asset transfers made by the Debtors to any individual or

entity from March 2023 to the present.

           18.    All communications between You and Rabo during the CRO Period, or the Relevant

Communications Time Period, whichever is earlier.

           19.    All bank statements given to you by Brian McClain, or any agent, employee or




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representative of the Debtors during the CRO Time Period, or the Relevant Documents Time Period,

whichever is earlier.

       20 .    All documents in your possession related to the cash-flow of the Debtors' operations

during the Relevant Documents Time Period.

       21.     All documents in your possession related to the number of cattle on hand during the

Relevant Documents Time Period.

       22.     Any and all forbearance agreements executed by You on behalf of the Debtors with

any financial agency who provided a credit facility to the Debtors.

       23.     All notes, mental impressions, summaries, or memoranda created by You that pertain

in any way to the Debtors' operations during the CRO Time Period .

       24.     Copies of all written records reflecting any recommendation made by You related to

the Debtors' operation during the CRO Time Period.

        25.    All documents in Your possession that pertain to outside investments made by any

individual or entity into the Debtors' operations.

        26.    All non-privileged communications between You and any outside law-enforcement

agency during the CRO Time Period. For the purpose of this request, the term "law-enforcement

agency" includes but is not limited to, the Securities and Exchange Commission, the United States

Department of Agriculture, the U.S. Department of Justice, any State Judicial District or prosecuting

attorney's office, or any other law enforcement agency, state or federal.

        27.     All communications between You and the Texas Special Rangers or persons

employed by the Texas & Southwestern Cattle Raisers' Association which are related to the

liquidation of any cattle in the ownership and/or possession of the Debtors in the months of April

2023 and May 2023.

        28 .    Copies of all monthly borrowing base reports ("BBR") in Your possession submitted




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by the Debtors to any lender during the Relevant Documents Time Period.

       29.       Copies of all bank statements in Your possession that in any way relate to the

Debtors' operations.

       30.       Any resolutions reached by You, or Your agents or employees, with unsecured

creditors on behalf of the Debtors during the CRO Time Period.

       31.       Any communications You or Your agents or employees had with unsecured creditors

on behalf of the Debtors during the CRO Time Period.

       32.       All resolutions reached by You, or Your agents or employees, with secured creditors

on behalf of the Debtors during the CRO Time Period .

       33 .      Any communications You or Your agents or employees had with secured creditors

on behalf of the Debtors during the CRO Time Period.

       34.       Documents related to any efforts made by You and/or the Debtors to secure outside

capital to fund the Debtors' operation. This includes any efforts made by Your and the Debtors'

agents, employees, or representatives .

       35.       Copies of any private or public suicide notes in Your possession made by Brian

McClain.

       36.       Copies of any sales or transaction receipts of any assets liquidated by the Debtors

during the CRO Time Period.

       37 .      Copies of any communications in your possession between the Debtors and MAP

Enterprises during the Relevant Documents Time Period.

       38.       Copies of any communications in your possession between the Debtors and Wild

Forrest during the Relevant Documents Time Period.

       39.       Any communications You had with MAP Enterprises from the time the Debtors first

contacted you.




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          40.    Any communications You had with Wild Forrest from the time the Debtors first

contacted you.

          41.    Any communications You had with any investors who invested money into any part

of the Debtors' entities from the time the Debtors first contacted you .

          42.    All non-privileged communications between You and any representative of Brian

McClain's estate, including attorneys thereof.

          43.    All non -privileged documents given to You by any representative of Brian

McClain's estate, including attorneys thereof, that evidence assets belonging to Brian McClain's

estate.




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